Case 4:08-cr-20009-SFC-MJH ECF No. 63, PageID.325 Filed 02/14/12 Page 1 of 2


                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                Plaintiff,                            Case No. 08-20009
v.

MICHAEL SLOAN MULLER,                                 HON. MARK A. GOLDSMITH

            Defendant.
_______________________________/

      ORDER ADOPTING REPORT AND RECOMMENDATION AND DENYING
           DEFENDANT’S MOTION FOR REDUCTION OF TERM OF
                       IMPRISONMENT (DKT. 60)

       This matter is presently before the Court on the Report and Recommendation (“R&R”) of

Magistrate Judge Michael Hluchaniuk, entered on October 31, 2011 (Dkt. 62). The Magistrate

Judge recommends that the Court deny Defendant’s motion for reduction of term of

imprisonment (Dkt. 60). Defendant has not filed objections to the R&R and the time to do so has

expired. Thus, Defendant has waived any further right to appeal. Thomas v. Arn, 174 U.S. 140,

155 (1985). The Court has reviewed the R&R and finds that the Magistrate Judge has reached

the correct results for the correct reasons.    As the Magistrate Judge noted in the R&R,

Defendant’s allegations are incorrect as to his eligibility for reduction for his term of

imprisonment.

       Accordingly, the Magistrate Judge’s R&R (Dkt. 62) is accepted and adopted as the

findings and conclusions of the Court.         Defendant’s motion for reduction of term of

imprisonment (Dkt. 60) is denied.

       SO ORDERED.



Dated: February 14, 2012                           s/Mark A. Goldsmith
       Flint, Michigan                             MARK A. GOLDSMITH
                                                   United States District Judge
Case 4:08-cr-20009-SFC-MJH ECF No. 63, PageID.326 Filed 02/14/12 Page 2 of 2



                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court's ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on February 14, 2012.

                                                    s/Deborah J. Goltz
                                                    DEBORAH J. GOLTZ
                                                    Case Manager
